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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

CIVIL MINUTES
SCHEDULING/STATUS CONFERENCE Cvi'a telephe ac)
BEFORE THE HONORABLE KAREN L. LITKOVITZ, U.S MAGISTRATE JUDGE

DATE: 5~24-(4 Case No. 1:19-cv-99
TIME: 2°30 Case Title: Berger v. NBME

COURTROOM DEPUTY: Arthur Hill
nent, Michael Gleanen Legtern)

LAW CLERK: Laura Aherm
COURT REPORTER: none present
COURTSMART RECORDING: #

 

Attorney(s) for Plaintiff(s): Attorney(s) for Defendant(s):
Ohicles Weiner (eee a White

DOCKET ENTRY/PROCEDURES:

Sthed cent held. Case Calender established.

 

 

 

 

 

 

 

 

 

 

 

 

 

he % Court Order to follow.

x Case cont'd for a follow-up status conference Vg -t; before MIT Litkovitz.
on Thurs, Q A @ 3:60pm
Other:

 

 

 
